
This is an appeal from the determination of a deficiency of $1,182.78 in income tax for the calendar year 1919. The taxpayer alleges that certain amounts charged to his personal account during the year 1919 represented business expenses and assigns as error the failure of the Commissioner to allow as a deduction from gross income the claimed amounts. The taxpayer admitted, on the witness stand, that the amount claimed was an estimate, and the testimony offered was not sufficient to establish that such estimate was even approximately correct.
FINDINGS OF FACT.
1. The taxpayer is an individual, residing at Los Angeles, Calif.
2. During the year 1919 he was engaged in the manufacture and sale of paints.
DECISION.
The determination of the Commissioner is approved.
Arundell not participating.
